  Case 17-30655       Doc 26    Filed 01/31/18 Entered 01/31/18 16:32:49            Desc Main
                                  Document     Page 1 of 3


                    IN THE UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


IN RE:         JERONE ALAN JACKSON, A/K/A                                   CASE NO. 17-30655
               JERONE A. JACKSON, D/B/A
               MY THREE JS LAWN SERVICE,
               Debtor                                                             CHAPTER 13


RUSHMORE LOAN MANAGEMENT SERVICES,
LLC AS SERVICER FOR MTGLQ INVESTORS,
L.P.                                                                                  MOVANT

VS.

JERONE ALAN JACKSON, Debtor;
and GEORGE W. STEVENSON, Trustee                                               RESPONDENTS


                             OBJECTION TO CONFIRMATION


       Comes now Rushmore Loan Management Services, LLC as servicer for MTGLQ Investors,

L.P., a secured creditor of the above named Debtor, and a party in these proceedings, (hereinafter

"Movant"), by and through its attorneys, Wilson & Associates, P.L.L.C., and for its Objection to

Confirmation of the Chapter 13 plan proposed herein by the Debtor, Jerone Alan Jackson, states:

       1.      Movant is the servicer of a promissory note, which is secured by a mortgage

covering the real property listed in the Chapter 13 plan of Debtor, commonly known as 4213

Indian Brook Cove, Memphis, TN 38125.

       2.      Pursuant to 11 U.S.C. §1324, Movant objects to said Chapter 13 plan because the

Debtor’s plan provides for arrearages of $4,080.00. However, the arrearages in the Proof of Claim,

are in amount of $12,637.22, pending approval. Debtor should modify their plan to provide for the

correct arrearage and the ongoing payment.
  Case 17-30655         Doc 26      Filed 01/31/18 Entered 01/31/18 16:32:49           Desc Main
                                      Document     Page 2 of 3


        3.      Therefore, the plan does not meet all of the requirements for confirmation.

        WHEREFORE, Movant objects to confirmation of the Chapter 13 plan proposed herein by

the Debtor, and prays that this Court deny such confirmation, for its attorney’s fees herein and for

all other just and proper relief.


                                                      Respectfully Submitted,

                                                      WILSON & ASSOCIATES, P.L.L.C.

                                                        /s/ Heather Martin-Herron
                                                        Joel W. Giddens (016700)
                                                        James Bergstrom (20622)
                                                        Heather Martin-Herron (032248)
                                                        Angela Boyd Mathews (033125)
                                                        Michael G. Clifford (028691)
                                                        Michael N. Wennerlund (031332)

                                                        5050 Poplar, Suite 1015
                                                        Memphis, TN 38157
                                                        (901) 578-9914

                                                      Attorneys for Movant




                                    CERTIFICATE OF SERVICE

        On January 31, 2018, a copy of the foregoing was served via electronic mail, upon:

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  Case 17-30655         Doc 26      Filed 01/31/18 Entered 01/31/18 16:32:49        Desc Main
                                      Document     Page 3 of 3



Gwen Hewitt                                         George W. Stevenson
Attorney at Law                                     Trustee
5050 Poplar Avenue, Suite 2400                      5350 Poplar Avenue, Suite 500
Memphis, TN 38157                                   Memphis, TN 38119-3697

and sent via first class mail to:

        Jerone Alan Jackson
        Debtor
        4213 Indian Brook Cove
        Memphis, TN 38125


                                                        /s/ Heather Martin-Herron
                                                        Joel W. Giddens (016700)
                                                        Heather Martin-Herron (032248)
                                                        Angela Boyd Mathews (033125)
                                                        James Bergstrom (20622)
W&A. 120552 / Loan No. XXXXXX0749




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